      06/19/2017 Eli Kozin
                                                                    EXHIBIT B-1
                                                                                   Page 123

1                                  WITNESS'S     CERTIFICATE

2

3                            I, ELI KOZIN, do hereby certify
4        that I have read and understand the foregoing
5        transcript and believe it to be a true, accurate, and
6        complete transcript of my testimony, subject to
7        the attached list of changes, if any.
 8                                                                                       w}<*/\+
                                                                           -g.


 9                                                         ELI   KOZIN

10

11                       This deposition was signed in my presence by
12        6.\i \OZa^\                   , on the 14 day of
13         ,Tu,lu                          2017

14

15




16                                                Notary Public
17

18       My commission expires: °t-^-^^l o
19

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21
                                                                    IRE!
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                                                                                       Page 125

 1      Page ^P              Line    S       should                       (Page 2 of ?) *(
 2      read:       F**-^*
3       Page j)              Line 5          should
4       read; j<A\f\yj «y.\               &**-       ^*- 6^,\)\
 5      Page jfl__ Line              /^      should
 6      read: /hOtt,            la/&^ C^uvj^             Y(\j^^rS>
 7      Page         )I Line         /<"" should
 8      read:           Aa*WT*u      ft A- n           j'Hft^      W-l-
 9       Page       H? Line          fl— should
10       read: /Ifrf"           hnetLh
11       Page  * ' Line    Jf should
12       read;  3tb m.q ft
13       Page 5/ Line       Jl should
14       read: |>,J4"                    &)cj**re,}-
15       Page ^i *S Line              /*/ should
16       read:          m^4~          DY-eW VS& foe U)<^
17       Page      S % Line          £-*/ should
18       read: -/fey, tW* jt> ^ ^"VY"! fV*
19       Page S^ Line __]_••£- should
20       read       ifc           i^/aS A*7~
21       Page C»             Line    1***- should
22       read "• / iJaxAJr p+jrfi,;** -~ / Was ji)rT
23       Page u> "^ Line             2- ' shoxild
24       read

25

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                                                                                       Page 121 9-

1        Page %J Line "ZY should                                         (Page jjlof fc)*-f
2        read: J          yCxA\ "ftwj" -f*V^ *****                    <*ia ^J**^
3        Page       j7^- Line [Q                should
4        read: SodsfG^i3^W ^^ *-T* ill
5        Page ^7 /              Line   2-       should
 6       read: fl jz £bsfrAAd}                   u£         ^> 73^*^
 7       Page       n$~ Line 3                  should
                                                                                          -> -

 8       read: jau,Jt L,J.'frl^- *4^^«», •***MV **** O*^1*-
 9       Page ^7> Line /ff                      should
10       read: V^.'k^
11       Page / 0*Z- Line /      should
12       read: ^AI.WsWIOpa —• -H*c priAM*" •
13       Page j 0& Line T                       should
14       read: *£>IL fr                Ngf" Kl/6;'
15       Page I(0               Line J2.        should
16       read: <J^j, |K<h -f^ 7i> ^
17       Page        j /£"" Line lLf            should
18       read: ^l yjjlr »*m /'-frl-6.
19       Page IJL Line ^"2.3 should
20       read:           ho\A      €&r$j K/Ua y^^I
21       Page                   Line            should
22       read

23       Page                   Line            should
24       read:

25




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